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AO 440 (Rev. 06/12) Sm.nmons in a Civil Action (Page 2)

 

Civil Action No. 3:18-Cv-02042-G

PROOF OF SERVICE
(This section should not be filed with the court unless required by Feo'. R. Civ. P. 4 (l))

This summons for (name ofindividual and rifle ifany) Dal|as Morning News |nc

 

was received by me on (dare) 08108/2018

|:l I personally served the summons on the individual at @)Iace)

 

011 (dote) ; 01'

 

l'_'l I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion Who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

d I served the summons on (name ofindividual) Robin Hutt-BankS , who is

 

designated by law to accept service of process on behalf of (name ofargam'za¢ian) The Corp_ Trust Company

 

Agent for Da||as Mcrning News |nc 011 (ddr€) 08/09/2018 ; OI

|:I I returned the summons unexecuted because ; or

|:l Othel' (.spect`)j)).'

My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date: 08/09!'2018

 

§e;'ver §Tf§gfure \

Adam Golden

Pn'nted name and title

 

DM Professiona| Services
501 Sl|verside Rd, Ste 72
Wi|mington DE 19809

Server ’s address

 

Additional information regarding attempted service, etc:

docs served at 1209 Orange St, W|lmington DE 19801 @ 10:08am
docs: Summons, Comp|aint, Civi| Cover Sheet

